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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


ISAIAH DUJUAN MARSHALL,                )
                                       )
        Plaintiffs,                    )
                                       )        CIVIL ACTION NO.
        v.                             )          2:22cv148-MHT
                                       )               (WO)
KAY IVEY, Gov., et al.,                )
                                       )
        Defendants.                    )

                                  OPINION

       Pursuant to 42 U.S.C. § 1983, plaintiff, a state

prisoner, filed this lawsuit complaining that he was

kept     in   24-hour     lockdown     at   Easterling      Correctional

Facility for over two months and was only taken out of

his cell to exercise twice during that period despite

his being on the mental-health caseload.                   This lawsuit

is now before the court on the recommendation of the

United States Magistrate Judge that plaintiff’s case be

dismissed       for   failure     to   prosecute.         There    are    no

objections to the recommendation.                After an independent

and de novo review of the record, the court concludes
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that the magistrate judge’s recommendation should be

adopted.

    An appropriate judgment will be entered.

    DONE, this the 31st day of May, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
